             Case 2:17-cv-00169-AB Document 105 Filed 01/10/19 Page 1 of 5



                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LENWOOD HAMILTON,                                 :
          Plaintiff,                               :
                                                   :
                   v.                              :           CIVIL ACTION
                                                               No. 2:17-cv-00169-AB
                                                   :
 LESTER SPEIGHT, et al.,                           :
            Defendants.                            :

January 10th, 2019                                                               Anita B. Brody, J.

                                         MEMORANDUM

           Plaintiff Lenwood Hamilton (“Hamilton”) moves for leave to file a Third Amended

Complaint. Defendants Microsoft, Inc., Microsoft Studios, The Coalition, Epic Games, Inc., and

Lester Speight (collectively, “Defendants”) oppose Hamilton’s motion. Defendants argue that

Hamilton’s motion was filed in bad faith after undue delay and that the new amended complaint

would be futile and prejudicial to Defendants. I will grant Hamilton’s motion in part and deny it

in part.

I.         BACKGROUND

           On January 11, 2017, Hamilton filed this action. On April 14, 2017, Hamilton filed the

operative Second Amended Complaint (“SAC”). See Dkt. No. 33. The SAC includes claims for

(1) unauthorized use of name or likeness (including voice) in violation of 42 Pa.C.S.A. § 8316;

(2) false description, and deception as to affiliation, connection, association, sponsorship, and/or

approval or endorsement under the Lanham Act, 15 U.S.C. § 1125(a)(1)(A); (3) unjust

enrichment; (4) misappropriation of publicity; and (5) invasion of privacy by misappropriation of

identity. See SAC ¶¶ 86-105.




                                                  1
          Case 2:17-cv-00169-AB Document 105 Filed 01/10/19 Page 2 of 5



       On October 25, 2018, Hamilton filed the pending Motion for Leave to file a Third

Amended Complaint. The proposed Third Amended Complaint (“TAC”) departs from the

operative SAC in three ways. First, the proposed TAC adds a claim for intentional

nondisclosure. Second, the proposed TAC does not include Hamilton’s Lanham Act claim.

Third, the proposed TAC includes revised factual allegations to comport with the revised claims.

II.    LEGAL STANDARD

       “After amending once or after an answer has been filed, the plaintiff may amend only

with leave of court or the written consent of the opposing party, but ‘leave shall be freely given

when justice so requires.’” Shane v. Fauver, 213 F.3d 113, 115 (3d Cir. 2000) (quoting Fed. R.

Civ. P. 15(a)). “[M]otions to amend pleadings should be liberally granted.” Long v. Wilson, 393

F.3d 390, 400 (3d Cir. 2004). Specifically, “absent undue or substantial prejudice, an

amendment should be allowed under Rule 15(a) unless denial can be grounded in bad faith or

dilatory motive, truly undue or unexplained delay, repeated failure to cure deficiency by

amendments previously allowed or futility of amendment.” Id. (internal quotation marks,

brackets, and emphasis omitted).

       “Leave to amend is properly denied if amendment would be futile, i.e., if the proposed

complaint could not ‘withstand a renewed motion to dismiss.’” City of Cambridge Ret. Sys. v.

Altisource Asset Mgmt. Corp., 908 F.3d 872, 878 (3d Cir. 2018) (quoting Jablonski v. Pan Am.

World Airways, Inc., 863 F.2d 289, 292 (3d Cir. 1988)). “In assessing futility, the district court

applies the same standard of legal sufficiency as applies under Rule 12(b)(6).” Id. (internal

quotation marks omitted). In reviewing a motion pursuant to Federal Rule of Civil Procedure

12(b)(6), the court must “accept all factual allegations as true [and] construe the complaint in the

light most favorable to the plaintiff.” Warren Gen. Hosp. v. Amgen Inc., 643 F.3d 77, 84 (3d Cir.



                                                 2
          Case 2:17-cv-00169-AB Document 105 Filed 01/10/19 Page 3 of 5



2011) (quoting Pinker v. Roche Holdings, Ltd., 292 F.3d 361, 374 n.7 (3d Cir. 2002)). “Under

Rule 12(b)(6), a motion to dismiss may be granted only if, accepting all well-pleaded allegations

in the complaint as true and viewing them in the light most favorable to the plaintiff, a court

finds that [the] plaintiff’s claims lack facial plausibility.” Id. (citing Bell Atl. Corp. v. Twombly,

550 U.S. 544, 555-56 (2007)).

III.   DISCUSSION

       I will grant Hamilton’s motion for leave to amend his complaint to remove his Lanham

Act claim. I will deny Hamilton’s motion as it relates to: (1) his proposed addition of an

intentional nondisclosure claim; and (2) his proposed revision of his factual allegations.

       A. Proposed Removal of the Lanham Act Claim

       Hamilton seeks to remove his Lanham Act claim from the TAC. Defendants assert that

Hamilton’s request is made in bad faith and should be denied. Specifically, Defendants contend

that Hamilton’s request to abandon his Lanham Act claim is an effort to avoid paying prevailing-

party attorneys’ fees to Defendants under the Lanham Act’s attorneys’ fees provision. The

Lanham Act’s fee shifting provision, 15 U.S.C. § 1117(a), allows the prevailing party to recover

fees in “exceptional circumstances” where there is an unusual discrepancy in the merits of the

positions taken by the parties or the losing party has litigated the case in an “unreasonable

manner.” See, e.g., Fair Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 315 (3d Cir. 2014).

Accordingly, Defendants request that Hamilton be forced to litigate his claim to judgment so that

Defendants may become the “prevailing party” and attempt to recover fees.

       I will grant Hamilton’s motion for leave to amend his complaint to remove his Lanham

Act claim. Hamilton’s request to abandon his claim at this point in the litigation is well within

the ambit of the Third Circuit’s liberal standard for allowing leave to file amended pleadings.



                                                   3
            Case 2:17-cv-00169-AB Document 105 Filed 01/10/19 Page 4 of 5



Allowing Hamilton to amend will streamline the action and free Defendants from further

litigating this claim. Allowing Hamilton to amend will also avoid the undesirable alternative:

forcing Hamilton to litigate to final judgment a claim that he no longer wishes to prosecute.

         B. Proposed Addition of a Claim for Intentional Nondisclosure

         Hamilton seeks to add a claim for intentional nondisclosure under Pennsylvania law.1

Specifically, Hamilton alleges that Defendants intentionally failed to disclose to Hamilton

material facts relating to Defendants’ misappropriation of Hamilton’s image, likeness, persona,

and voice. Defendants’ respond that the Court should deny Hamilton’s motion because

Hamilton’s claim for intentional nondisclosure is futile.

         In Pennsylvania, “[t]he tort of intentional non-disclosure has the same elements as

intentional misrepresentation except in the case of intentional non-disclosure, the party

intentionally conceals a material fact rather than making an affirmative misrepresentation.”

Bortz v. Noon, 556 Pa. 489, 499, 729 A.2d 555, 560 (1999) (quotation marks omitted). “While

concealment may constitute fraud, however, mere silence is not sufficient in the absence of a

duty to speak.” Wilson v. Donegal Mut. Ins. Co., 598 A.2d 1310, 1315–16 (Pa. Super. Ct. 1991)

(noting Pennsylvania’s reliance on Restatement (Second) of Torts § 551). Pennsylvania courts

continue to rely on the Restatement (Second) of Torts § 551 to define the scope of a party’s duty

to disclose. See LEM 2Q, LLC v. Guar. Nat’l Title Co., 144 A.3d 174, 181 (Pa. Super. Ct. 2016)

(quoting and applying § 551). Section 551 states that a party is “under a duty to exercise

reasonable care to disclose [information] to the other” where the two parties are engaged in a

“business transaction.” See Restatement (Second) of Torts § 551.




1
 By their citations in the proceedings and briefing for this motion, Parties agree that Pennsylvania law applies to
Hamilton’s claim. See Br. in Supp. of Pl.’s Mot. at 12-15; Defs.’ Br. in Opp. to Pl.’s Mot. at 5-7.

                                                          4
          Case 2:17-cv-00169-AB Document 105 Filed 01/10/19 Page 5 of 5



       I will deny Hamilton’s motion to amend his complaint to include a claim for intentional

nondisclosure because Hamilton’s proposed claim would be futile. Hamilton fails to allege facts

sufficient to plausibly suggest that any Defendant had a duty to disclose anything to Hamilton.

Hamilton alleges no factual basis—a business transaction or any other sort of special

relationship—on which a duty to disclose could possibly be based under Pennsylvania law. For

this reason, Hamilton’s claim for intentional nondisclosure is not facially plausible, see Warren,

643 F.3d at 84, and Hamilton fails to state a claim for intentional nondisclosure.

       C. Proposed Revision of Factual Allegations

       Because I find that Hamilton’s new claim for intentional nondisclosure is futile,

Hamilton’s existing factual allegations sufficiently state the factual basis for the claims for which

he continues to seek relief. Given the late date at which Hamilton petitions to add the factual

allegations and the fact that Hamilton may present these factual allegations on summary

judgment or at trial regardless of whether they are included in the complaint, I will deny

Hamilton’s request to amend the factual allegations.

IV.    CONCLUSION

       I will grant Hamilton’s motion for leave to amend his complaint to remove his Lanham

Act claim. I will deny Hamilton’s motion as it relates to: (1) his proposed addition of an

intentional nondisclosure claim; and (2) his proposed revision of his factual allegations.

                                              s/Anita B. Brody

                                              ____________________________________
                                              ANITA B. BRODY, J.


Copies VIA ECF on 1/10/2019




                                                 5
